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                                      United States District Court
                                        District of New Jersey


  UNITED STATES OF AMERICA                                 :   HON. MADELINE COX ARLEO

                                                               Magistrate No. 09-8188

 STEVEN NELSON and
 JASON EATON                                           :       CRIMINAL COMPLAINT


         I. Kevin Song. the undersigned complainant being duly sworn, state the following is
                                                                                                  true
 and correct to the best of my knowledge and belief On or about February 11, 2009,
                                                                                          in Bergen
 County, in the District of New Jersey, and elsewhere, defendants Steven Nelson
                                                                                      (‘NELSON”)
 and Jason Eaton (“EATON”) did:

                                      SEE ATTACHMENT A

 contrary to Title 1 8, United States Code, I 029(a)(2) and Title 18, United
                                                                             States Code,   Section 2.
        I further state that I am a Special Agent with the United States Secret Servic
                                                                                        e and that this
 complaint is based on the following facts:

                                      SEE ATTACHMENT B



                                                 ,\


                                              Kevin Song
                                              Special Agent
                                              United States Secret Service

Sworn to before me arid subscribed in my presence,

September 23. 2009     at ;;.J-                       Teik. i’ew Jersey
DatL                                                  1
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                                                      S tat
                                                          idt                    /1                       )
                                                                          ,,,           / /
                                                        / L/
Honorable Madeline Cox Arleo                         Signature of Judicial Officer
United States Magistrate Judge
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                                        ATTACI4MENT A

knowingly and with the intent to defraud, traffic in and
                                                          use one or more unauthorized access
devices during any one-year period, and by such conduct
                                                            obtain anything of value aggregating
Si ,000 or more during that period, contrary to Title 18. United States
                                                                        Code. Section 1 029(a)(2).
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                                             ATTACHMENT B

           I. Kevin Song, am a Special Agent of the United
                                                              States Secret Service. Based upon my
   investigation and my discussions with other ind
                                                   ividuals involved in this investigation, I hav
   knowledge of the facts presented below. Statem                                                 e
                                                    ents attributed to individuals are in substance
   and in part.

            1.     On or about February 11, 2009, law enforceme
   Inliniti (the Intiniti’) driven by defendant                     nt personnel stopped a white
                                                 EATON. Defendant NELSON was the only
   passenger in the Infiniti, which was newly
                                                registered to an individual named “S.D.”
           2.      Law enforcement personnel arrested defend
   arrest warrants, and who was operating the                  ant EATON. who had outstanding
                                              Infiniti despite the fact that his driver’s lice
   suspended.                                                                                  nse was

            3.      Defendant EATON told law enforcement per
   defendant NELSON. Defendant NELSO                              sonnel that the Infiniti belonged to
                                              N told law enforcement personnel that he did
   the Infiniti and was unable provide accura                                                   not own
                                               te information regarding the Infiniti’s own
                                                                                            er.
           4.      Law enforcement personnel subsequently
  the Inliniti, and learned from a family mem                  contacted S.D., the registered owner of
                                                ber of S.D.’s that S.D. had been the victim
  theft, and that an Infiniti automobile valu                                                 of identity
                                              ed at approximately $33,000 had been frau
  purchased in his name. Defendant NELSO                                                   dul ently
                                                N was then arrested.
        5.      At the time of his arrest, defendant EATO
 New York state driver’s licenses bearing                   N had in his possession two counterfeit
                                            his photograph and the names “M.B.” and
 Defendant EATON also had in his possess                                              “T.J.”
                                             ion three Visa check cards, two in the nam
 and one in the name ofT,J.”                                                            e of “M.B.”

         6.      At the time of his arrest, defendant NELSO
 driver’s license in the name of a woman                        N possessed a counterfeit New York
                                             named “L,T.”, and a piece of paper bearing
 address, Social Security Number, and date                                                the name,
                                               of birth of a second woman named “G.L.M
 Defendant NELSON could not provide                                                         .”
                                           law enforcement personnel with a legitim
 he would have either of these documents                                             ate  reas on why
                                            .
       7.      Subsequent to defendant NELSON’s arre
discovered three portable thumb drives                  st, law enforcement personnel
                                       ordinarily capable of storing electronic file
Drives”) in defendant NELSON’s jack                                                  s (“the Thumb
                                     et. When asked about the Thumb Drives
enforcement personnel to throw them out.                                        , Nelson told law

        8.       On or about February 20, 2009, law enf
 warrant for the electronic contents of the              orcement personnel obtained a search
                                            Thumb Drives from the Honorable Har
judge of the Bergen County (New Jersey)                                          ry Carroll, a
                                             Superior Court.
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         9.      The search of the Thumb Drives revealed substantial electronic evidence of
identity theft and access device fraud, including: a spreadsheet file containing the names dates
                                                                                            .
of birth. and Social Security Numbers of approximately 280 different individuals: approx
                                                                                             imately
40 to 50 images of credit cards andlor credit card numbers; images of approximately 40 New
York State drivers licenses in different names. many of which contained photographs of
                                                                                            either
defendant NELSON or defendant EATON, and other images of drivefs licenses in
                                                                                      different
names that contained photographs of a single person; commercial tax preparation softwa
                                                                                           re;
Social Security card templates; images of Social Security cards; and images of comm
                                                                                       ercial pay
stubs in which names had been electronically altered.

        10.    On or about February 11, 2009, law enforcement personnel interviewed defendant
EATON who stated that he had used credit cards and fraudulent identifications given
                                                                                      to him by
defendant NELSON to purchase consumer goods, to file fraudulent tax returns
                                                                              , and to cash
checks in the names of other persons in total amounts that exceeded $1,000 in the
                                                                                  preceding year.
       All in violation of 18 U.S.C. § 1029(a)(2).
